Case 2:04-CV-03053-SHI\/|-tmp Document 3 Filed 07/29/05 Page 1 of 2 Page|D 5

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wILLJ:AM GRoss, WEJ G~ ih ez»-,r;,¢PHS
Petitioner,
v. No. 04-3053-Ma

UNITED STATES OF AMERICA,

Respondent.
J'UDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order Denying “Motion Under 28 U.S.C. § 2255
To Vacate, Set Aside, or Correct Sentence,” docketed June 8,
2005.

APPROVE& /(7 ",z

SAMUEL I-I. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-03053 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

